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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF CONNECTICUT

                                                        :
JAKUB MADEJ                                             :
                                                        :     CIVIL ACTION NO.
                            PLAINTIFF                   :     3:20-cv-00133-JCH
                                                        :
v.                                                      :
                                                        :
YALE UNIVERSITY, MARVIN CHUN,                           :
MARK SCHENKER, PETER SALOVEY AND                        :
JESSIE ROYCE HILL                                       :
                                                        :
                            DEFENDANTS                  :
                                                        :     AUGUST 14, 2020

MOTION FOR SUMMARY DISPOSITION OF DEFENDANTS’ MOTION TO DISMISS

           The defendants hereby move for a summary disposition of their Motion to Dismiss.

(Docket Entry No. 90.) On May 6, 2020, the defendants moved to dismiss the entirety of the

plaintiff’s April 27, 2020 Amended Complaint. The plaintiff’s objection was due on May 27,

2020. On May 22, 2020, the plaintiff moved for an extension of time through June 22, 2020 to

respond to the defendants’ motion to dismiss. (Docket Entry No. 98.) The Court granted that

motion on May 28, 2020. (Docket Entry No. 104.) Rather than filing an objection to the

defendants’ Motion to Dismiss on June 22, 2020, the plaintiff instead moved to amend his

complaint a second time. (Docket Entry No. 110.) In the more than three months that the

defendants’ motion to dismiss has been pending, the plaintiff has filed numerous motions and

initiated another lawsuit.1 However, he has failed to file an opposition to the defendants’ motion

to dismiss.

           Rule 7(a)(2) of the Local Rules of Civil Procedure provides that the failure to submit a



1
    See, Madej v. Yale University, 3:20-cv-00991-JCH.
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memorandum in opposition to a motion may be deemed sufficient cause to grant the motion. Since

the plaintiff has failed to timely file an opposition brief, the defendants hereby request that the

Court summarily grant the Defendants’ Motion to Dismiss.




                                                THE DEFENDANTS,

                                                YALE UNIVERSITY, MARVIN CHUN, MARK
                                                SCHENKER, PETER SALOVEY AND JESSIE
                                                ROYCE HILL


                                          By:                 /s/
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                                       CERTIFICATION

        I hereby certify that, on the above-written date, a copy of the foregoing was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the court’s CM/ECF System.


                                                      _______________/s/________________
                                                             Patrick M. Noonan


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